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                           UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MASSACHUSETTS
                                                      CIVIL ACTION NO: 19-CV-11835-WGY
JACK OWENS, JEFFREY DREES, KATELYN
MURPHY, PATRICK MANOLIAN, SCOTT
MANN, and SEAN HUSSEY, on behalf of
themselves and all other similarly situated,
              Plaintiffs,
v.
CITY OF MALDEN
          Defendants.
                                  [PLAINTIFFS’ PROPOSED]
         FINAL JUDGMENT REGARDING CITY OF MALDEN’S VIOLATION
             OF THE MASSACHUSETTS WAGE ACT M.G.L. c 149, § 148
                                 PURSUANT TO ECF. NO. 271

       After a determination of the City of Malden’s liability on Count II (M.G.L. c. 149, §

148) of the Complaint at a bench trial, the Court made its findings and rendered its decision.

The City of Malden has violated the Massachusetts Wage Act.

       On August 28, 2019, Officers Jack Owens, Jeffrey Drees, Katelyn Murphy, Patrick

Manolian, Scott Mann, and Sean Hussey (collectively, the “Named Plaintiffs”) filed a class-

action complaint in this Court against the City. See Compl., Ecf. No. 1. On November 27, 2019,

the Named Plaintiffs filed an amended complaint. See Am. Compl., Ecf. No. 8.

       The amended complaint alleges a violation of the Wage Act in Count II, see id. ¶¶ 47,

48, (the “Wage Act claim”). Specifically, the Plaintiffs claim that the City violated their rights

by unlawfully deducting an administrative fee of ten percent from their respective wages for the

provision of police detail work. See id. ¶¶ 46, 48.

       The docket in this matter contains 110 formal notices, see Formal Notices Filing

Consent Sue, ECF Nos. 34-143, filed on August 21, 2020, and a further three formal notices,

Formal Notices Filing Consent Sue, ECF Nos. 187-189, filed on April 15, 2021 (collectively,
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the “Notices”). The Notices are filed on behalf of “current or former employee[s] of the Malden

Police Department, represented for collective bargaining purposes by either the Malden Police

Patrolmen’s Association or the Malden Police Superior’s association” (collectively, the “Opt-In

Plaintiffs”). See, e.g., John A. Delaney’s Consent Opt In Plaintiff (“Opt-In Sample Delaney”),

ECF No. 143. 2 The Notices reference the Plaintiffs’ Wage Act and FSLA claims. See, e.g., id.

       At a hearing on the parties’ cross-motions for summary judgment on February 22, 2021,

the Court certified a class in relation to the Plaintiffs’ Wage Act claim. (Ecf. No. 267 at Pg. 3;

Ecf. No. 265 at Pg. 265; see also Tr. Summ. J. at 6:17.).

       A five-day jury-waived trial was held remotely on the Court’s Zoom platform between

May 5, 2021 and May 11, 2021 (the “trial”), during which the parties presented their arguments

and examined several witnesses. See Electronic Clerk’s Notes, ECF Nos. 229-235, 243-44.

       The Court heard evidence from Richard Howard, former mayor of the City of Malden,

on May 5, 2021 (“day one” of the trial), see id., ECF No. 230; Gary Christensen, the current

mayor of the City of Malden, on day one and on May 6, 2021 (“day two” of the trial), see id.,

ECF Nos. 230, 231; Charles Ranaghan (“Ranaghan”), the City’s controller, on day two and on

May 7, 2021 (“day three” of the trial), see id., ECF Nos. 231, 232; the City of Malden Police

Chief Kevin Molis (“Chief Molis”) on day three and on May 10, 2021 (“day four” of the trial),

see id., ECF Nos. 232, 243; City of Malden Police Captain John Amirault on day four of the

trial, see id., ECF No. 243; Margaret Sullivan, the City’s detail clerk, on day four and on May

11, 2021 (“day five” of the trial), see id., ECF Nos. ---- 243, 244; and from Named Plaintiff

City of Malden Police Officer Jack Owens (“Owens”) on day five of the trial, see id., ECF No.

244.




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       Both parties filed pre-trial briefing. See Def.’s Trial Br. (“City’s Pre-Trial Br.”), ECF

No. 197; Pls.’ Trial Br. (“Pls.’ Pre-Trial Br.”), ECF No. 200.

       The City filed a motion for judgment on partial findings, Def.’s Mot. J. Partial Findings

(“Mot. J. Partial Findings”), ECF No. 237, during the ongoing trial on May 10, 2021, which

was allowed in part and denied in part, see Electronic Clerk’s Notes, ECF No. 243. The Court

allowed the City’s motion with respect to Opt-In Plaintiff Heidi Mccormick and ruled that a

workweek runs from Saturday of one calendar week until Saturday of the following calendar

week. See Tr. Zoom Bench Trial (“Bench Trial Tr. Day Four11) 75:15-24, ECF No. 261. The

motion was otherwise denied. Id.

       The City also filed a motion to decertify the Plaintiffs’ FLSA claim on May 10, 2021.

See Def.’s Mot. Decertify, ECF No. 236.

       After the conclusion of the trial, the Court invited the parties to file post-trial briefs,

which the City did on May 18, 2021. See Def.’s Post-Trial Br. (“City’s Post-Trial Br. 11), ECF

No. 239. The Plaintiffs filed a post-trial brief on May 28, 2021. Pls.’ Post-Trial Br., ECF No.

240.

       At a hearing on June 2, 2021, the Court made its post-trial rulings. See Electronic

Clerk’s Notes, ECF No. 245; Tr. Zoom Hr’g Rulings (“Tr. Rulings”), ECF No. 247. An order

pertaining to the timing of actions required of the parties and to other future events yet to occur

in this matter was entered on June 10, 2021. See Order (“Timing Order”), ECF No. 246.

       On September 24, 2021, the Court Ordered as follows:

              Plaintiffs who have suffered damages up to the start of an action may collect
       damages incurred throughout the applicable limitations period. Crocker v. Townsend
       Oil Co., 464 Mass. 1, 10 (2012). The language of Massachusetts General Law chapter
       149, section 150, requires that a Wage Act Claim be brought “within three years after


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the violation.” Mass. Gen. Laws ch. 149, § 150. Thus, the applicable limitations period
for the Wage Act Claim began to run three years prior to the date of the filing of the
Plaintiffs’ complaint in this Court. See Crocker, 464 Mass. at 11 (“For these reasons, we
conclude that the plaintiffs’ recovery is limited to those damages that occurred within
the three-year period prior to filing the complaint.”); see also Lawless v. Steward Health
Care Sys., LLC, 894 F.3d 9, 23 (1st Cir. 2018) (holding that the reference to filing a
complaint with the Attorney General in Massachusetts General Laws chapter 149,
section 150’s tolling provision does not change the notion that the filing requirement is
“simply to ensure . . . notice”). Here, the Plaintiffs filed their complaint on August 28,
2019. ECF No. 1. Thus, the applicable limitations period began August 28, 2016, and
ended August 28, 2019, exactly. (See Order Ecf. No. 264 at ¶ 2).
        The collective bargaining agreement between the City of Malden and the
Malden Police Patrolmen’s Association (the “Agreement”) is a partially integrated
document and can, therefore, be supplemented by consistent additional terms. Cabot v.
Cabot, 55 Mass. App. Ct. 756, 763 (2002) (holding that a document is partially
integrated if it is not the “complete and exclusive expression of [an] agreement”);
Aretakis v. Gen. Signal, Inc., Civil Action No. 05-10257-DPW, 2006 WL 1581781, at
*5 (D. Mass. June 7, 2006) (Woodlock, J.) (recognizing that consistent additional terms
can supplement partially integrated documents). Evidence presented at trial, including
testimony from Chief of Police Kevin Molis and the Malden Police Department Detail
Rules and Procedures, established that there are several enhancements (the
“Multipliers”) to detail rates for detail work performed under specific conditions --
strike action, after midnight, detail work by supervisors, detail work performed on
holidays and detail work in excess of eight hours -- that have been routinely applied in
calculating detail rates. See Tr. Zoom Bench Trial 127-128, ECF No. 260 (Molis’s
Testimony); Trial Ex. 12, Malden Police Department Detail Rules & Procedures ¶¶ I.17,
I.21, IV.3. Furthermore, these Multipliers are not inconsistent with the language of
Article 23, section 3 of the Agreement. See Agreement, Art. 23, § 3. Thus, where
applicable, the Multipliers shall be taken into account in determining the relevant detail
rate for the purposes of calculating damages for the Wage Act Claim. (See Order Ecf.
No. 264 at ¶ 3).
         All detail rates paid to Superior Officers after April 1, 2021 shall not be taken
into account in calculating damages for the Wage Act Claim. (See Order Ecf. No. 264
at ¶ 4).
        Any alterations or rates that depend on the Plaintiffs’ Certified Public
Accountant Michelle Smith’s “manual adjustments” fail for lack of evidence and shall
not be included in the calculation of damages for the Wage Act Claim. (See Order Ecf.
No. 264 at ¶ 5).




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               Plaintiffs shall receive prejudgment interest on the Wage Act Claim. The City is
       subject to prejudgment interest. See McGrath v. City of Somerville, 419 F. Supp. 3d
       233, 263-64 (D. Mass. 2019) (Saylor, J.) (“[A] waiver of the City’s immunity as to
       prejudgment interest is clear by ‘necessary implication’ from the Wage Act.”).
       Massachusetts General Laws chapter 231, section 6H governs the award of prejudgment
       interest on lost wages and benefits in Wage Act cases. See George v. Nat’l Water Main
       Cleaning Co., 477 Mass. 371, 381 (2017). The statute mandates that prejudgment
       interest shall be added “[i]n any action in which damages are awarded, but in which
       interest on said damages is not otherwise provided by law. . . .” Mass. Gen. Laws ch.
       231, § 6H. The appropriate rate of interest is set by the legislature at “twelve per cent
       per annum from the date of commencement of the action. . . .” Id. § 6B. Accordingly,
       the Plaintiffs are entitled to prejudgment interest in the amount of twelve percent per
       annum on any damages awarded under the Wage Act Claim.


       Subsequently, on October 26, 2021, the court issued its Corrected Memorandum of

Decision (Ecf. No. 267). With respect to the Plaintiffs’ Wage Act claim, the Court ruled that:

       1.      Although at the time of trial the Plaintiffs had not then exhausted their
               administrative remedies in accordance with Massachusetts General Laws chapter
               149, section 150, the Court nevertheless had jurisdiction to consider and make
               rulings concerning the Wage Act claim.
       2.      Compensation received by the Plaintiffs for private detail work constitutes
               “wages,” and the Plaintiffs are “employees” under Massachusetts General Laws
               chapter 149,sections 148 and 148B.
       3.      Massachusetts General Laws chapter 44, section 53C requires that the person
               requesting a private detail must pay the ten percent administrative fee, and the
               City violated Massachusetts General Laws chapter 44, section 53C if and to the
               extent that it deducted a ten percent administrative fee from the Officers’ wages
               for private detail work instead of charging the third party that had requested the
               private detail.
       4.      Article 23, section 3 of the Agreement -- specifically the phrase “maximum
               patrolman’s rate of pay” is ambiguous, and the phrase “maximum patrolman’s
               rate of pay” in Article 23, section 3 of the Agreement refers to the rate of pay of
               the Patrolman who, in addition to his “base pay,” had accumulated the maximum
               amount of additional benefits during a certain time period, embodied in salary
               augments, namely Quinn Bill pay, hazardous duty pay, longevity pay, and night
               differential.




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        5.       Multipliers must be taken into account when calculating an applicable detail rate
                 because the Agreement is a partially integrated document.


(See Corrected Memorandum of Decision; Ecf. No. 267, at Pgs. 70-72).

        On February 15, 2022, the Court ordered that the parties shall submit a joint proposed

judgment and attorney’s fee award. (Ecf. No. 271). If the parties were unable to submit a

proposed judgment and attorney’s fees award jointly, the Plaintiffs shall submit a proposed

judgment and attorney’s fee award and the City of Malden shall file a response. (id.). The

Court directed the parties as follows:

               The parties’ submissions should include, but are not limited to, Excel sheets
        containing the raw data (e.g., the individual Plaintiff, the hours worked by that Plaintiff,
        and the manner in which the Wage Act damages have been calculated for that Plaintiff).
        Each damages calculation shall be supported by citations to the specific exhibits,
        admitted as evidence at trial, that support the damages award.
                For example, should an individual qualify for enhancements to the detail rate
        called “Multipliers,” see September 24, 2021 Order 3–4, ECF No. 264, and should those
        Multipliers be taken into account in that individual’s damages calculation, the parties
        shall provide evidentiary support that the Multipliers apply, or an affidavit to that effect.
               Parties shall provide clearly labeled, single-sided courtesy copies of all
        submissions and supporting documents. The parties shall email a copy of any
        spreadsheets to Ms. Gaudet and opposing counsel.


(Ecf. No. 271 at Pg. 3, Fn. 2).


        The Plaintiffs submit the below individualized proposed damages in compliance with

the above cited rulings reflecting the damages suffered by each plaintiff from August 28, 2016,

three years prior to the date of filing of the Plaintiffs class action complaint. 1 As ordered by the

Court, the submission includes (1) the total proposed damages; and (2) a break down for each


1
 The amounts are derived fully from Trial Exhibits 23-28 and supported by citations to the specific exhibits, which
were admitted as evidence at trial, as is specifically referenced in Exhibit B. (See Ecf. No. 271 at Pg. 3, fn2).


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individual plaintiff with attached spreadsheets which includes within it the evidentiary basis for

the calculations supporting the amounts proposed herein. The Plaintiffs submit as an

attachment herewith a report from Ms. Smith, a certified public accountant, detailing the work

she performed and explaining the procedures undertaken to comply with this Court’s Orders

relative to the calculation of damages, as Exhibit A. The Plaintiffs submit as an attachment

herewith a list of calculations per officer, which includes individualized damages, the total

proposed damages, and the evidentiary source of each entry, as Exhibit B. 2 As instructed by

the Court, the Plaintiffs have emailed a copy of all spreadsheets to Ms. Gaudet and opposing

counsel. The spreadsheets show, on a line-by-line basis for every single detail within the

applicable period, “the date, time and nature of the detail work performed by each … individual

Plaintiff” and the source for such evidence in the trial record. Plaintiffs submit herewith a list

of all transactions which have been excluded from the proposed damages because the trial

evidence did not support including those items in the proposed damages, for the reasons stated

therein, as Exhibit C. Plaintiffs submit herewith a spreadsheet which lists the officers who are

not opted in to show to the Court those officers and the details they worked are specifically

excluded from the proposed damages, as Exhibit D. (See Ecf. No. 271).

         IT IS ORDERED AND ADJUDGED AS FOLLOWS:

         1.       On Count II of the Complaint, judgment in favor of Plaintiffs in the amounts

reflected in the below chart, per Plaintiff. As mandated by G.L. c. 149, § 150, each employee

so aggrieved, having prevailed in this action, shall be awarded treble damages, as liquidated

damages, for his/her lost wages.


2
  As instructed, all exhibits showing the calculation of damages have been filed in pdf form using the electronic case
filing system and a spreadsheet version containing the raw data has been emailed to Ms. Gaudet and opposing
counsel.


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Last Name          First Name           EE ID   Actual Lost      Trebled
                                                    Wages       Damages
AMIRAULT           JOHN                 10601    $30,983.42    $92,950.26
BAILEY             PATRICIA             10603    $49,759.85   $149,279.55
BARTHELMES         RICHARD              10604    $34,858.90   $104,576.70
BELLAVIA           STEPHEN              10605    $72,713.87   $218,141.61
BELLAVIA           STEPHEN C            14516    $38,847.40   $116,542.20
BORGES             AYRTON               15597    $25,043.40    $75,130.20
BOURQUE            DANIEL               13485    $18,508.89    $55,526.67
BOWIE-PIERCE       NOELLE               15600     $3,399.41    $10,198.23
CALHOUN            TYLER                12822    $32,953.75    $98,861.25
CARLIN             CAROLE               10609     $4,539.45    $13,618.35
CARROLL            SCOTT                10610    $30,671.97    $92,015.91
CASALETTO          MICHAEL              10611    $24,926.45    $74,779.35
CASELLA            JAMES                10612     $9,158.08    $27,474.24
CATANA             DANNY                10618    $60,207.54   $180,622.62
CHARPENTIER        ALISON               10668       $806.70     $2,420.10
CHEN               ANDY                 12903     $2,865.20     $8,595.60
CHOI               EDMUND               10613     $9,424.29    $28,272.87
CLEMENTE           ROBERT               10620    $20,522.34    $61,567.02
CLOHERTY           CONOR                14451    $11,499.28    $34,497.84
CO                 KEVIN                10614    $11,733.16    $35,199.48
CONNELLY           DAVID                14511    $18,040.61    $54,121.83
CORREALE           RICHARD              10622    $26,368.46    $79,105.38
COX                NICHOLAS             10623    $31,034.99    $93,104.97
CRANNELL           JON                  16275    $18,778.19    $56,334.57
DADAILLE           SANDROFF             15990     $4,752.12    $14,256.36
DELANEY            JOHN                 10628     $5,506.69    $16,520.07
D’ENTREMONT        CORY                 13650     $9,770.72    $29,312.16
DICARLO            CAMERON              15359     $3,888.70    $11,666.10
DILLON             SHAWN                14860    $14,618.37    $43,855.11
DISALVATORE        ROBERT               10631     $6,482.48    $19,447.44
DOHERTY            RICHARD              14515    $20,459.06    $61,377.18
DONOVAN            RUSSELL              10632    $31,662.29    $94,986.87
DREES              JEFFREY              10633    $23,614.68    $70,844.04
FERRICK            KEVIN                10636    $28,271.25    $84,813.75


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FERRY            BLAKE                16236    $3,906.56    $11,719.68
FITZPATRICK      EDWARD               10637   $12,002.45    $36,007.35
FITZPATRICK      STEVEN               10638   $63,539.86   $190,619.58
FORTIER          RYAN                 10639   $34,317.11   $102,951.33
FRANZESE         DAVID                10640   $31,584.19    $94,752.57
FROIO            JASON                10641   $46,347.94   $139,043.82
GATCOMB          MARC                 10642   $32,611.89    $97,835.67
GENNETTI         SALVATORE            10643   $38,617.89   $115,853.67
GIORDANO         MICHAEL              10645   $53,982.17   $161,946.51
GOMEZ            EVER                 15077   $24,225.82    $72,677.46
GRENIER          AMANDA               15612    $6,476.22    $19,428.66
GRIFFITHS        CHRIS                10647   $13,772.19    $41,316.57
HALLORAN         PHILIP               10649   $27,486.32    $82,458.96
HEADLEY          TRENT                10650   $40,451.94   $121,355.82
HOLLAND          MAUREEN              10653    $6,794.77    $20,384.31
HOPKINS          PAUL                 10654   $86,106.17   $258,318.51
HUSSEY           SEAN                 14666   $37,132.73   $111,398.19
ISRAELSON        ERIK                 10656   $43,663.46   $130,990.38
KEEFE            JOSEPH               15308   $15,273.15    $45,819.45
KELLEY           JOHN                 10657   $42,052.79   $126,158.37
KILLION          KEVIN                10658    $9,256.69    $27,770.07
KINNON           PATRICK              15373   $19,662.45    $58,987.35
KRUSCHEWSKY      GUSTAVO              12819   $45,806.44   $137,419.32
LAMOUR           JEAN                 13075   $16,946.28    $50,838.84
LANGSTON         MICHAEL              10660   $24,060.76    $72,182.28
LANNI            JOHN                 10661   $20,970.87    $62,912.61
LAW              KEVIN                10662   $29,248.46    $87,745.38
LOPEZ            GEORGE               14667    $2,965.82     $8,897.46
LUBINGER         STEVEN               10666   $17,566.02    $52,698.06
LUONGO           MICHAEL              10667   $28,072.12    $84,216.36
MACDONALD        MARGARET             10674   $45,540.61   $136,621.83
MACKAY           GEORGE               10675   $58,443.30   $175,329.90
MAHER            ADAM                 14517    $7,003.23    $21,009.69
MANN             SCOTT                10676   $22,828.17    $68,484.51
MANOLIAN         PATRICK              12787   $43,208.22   $129,624.66
MARTINEZ         JOSEPH               16237    $1,339.74     $4,019.22
MCGAHEY          LAWRENCE             10671   $14,611.76    $43,835.28


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MCKENNA            KEVIN                10672   $32,792.08    $98,376.24
MCLEOD             PAUL                 10673   $28,013.97    $84,041.91
MCNEAL             ELIJAH               14838   $37,763.56   $113,290.68
MEDEIROS           JOHN                 10679    $4,028.81    $12,086.43
MITCHELL           PETER                10678   $15,098.93    $45,296.79
MONTINA            MICHELET             10682   $23,335.96    $70,007.88
MONTOYA            JESUS                10681   $23,560.47    $70,681.41
MULCAHY            STEVEN               10730   $17,074.94    $51,224.82
MUNYON             STEPHEN              14450    $8,928.43    $26,785.29
NEWNAN             BRIAN                10688   $15,489.50    $46,468.50
NOBLE              STEPHEN              10687   $22,075.09    $66,225.27
O’BRIEN            ROBERT               10691    $6,396.77    $19,190.31
OWENS              JACK                 10692   $25,681.63    $77,044.89
PACI               SALVATORE            14120   $22,911.70    $68,735.10
POLSTON            MICHAEL              10694   $10,300.46    $30,901.38
POWELL             MICHAEL              10696   $17,254.81    $51,764.43
QUINN              MATTHEW              15076   $26,159.31    $78,477.93
REDMOND            JOSHUA               14668   $24,280.39    $72,841.17
REYNOLDS           JOHN                 10698   $30,007.27    $90,021.81
ROWE               WILLIAM              10701   $13,155.52    $39,466.56
RUSSELL            KEVIN                16273    $5,929.25    $17,787.75
SELFRIDGE          CAMERON              15799   $28,053.54    $84,160.62
SELFRIDGE          ROBERT               10705   $25,801.26    $77,403.78
SHAW               KYLE                 15991   $16,920.78    $50,762.34
SHERIDAN           KEVIN                10706   $12,178.83    $36,536.49
SIEGEL             ADAM                 14514   $26,128.21    $78,384.63
SYLVA              DANIEL               15372    $4,854.52    $14,563.56
TILLEY             BRIAN                10712   $28,960.26    $86,880.78
TUXBURY            EVAN                 10714   $22,387.92    $67,163.76
WADLAND            ROBERT               10716   $30,749.89    $92,249.67
WALKER             JOSEPH               10717   $42,834.35   $128,503.05
WASHINGTON         CHARLES              15143    $9,506.19    $28,518.57
WATKINS            KENNETH              14857   $29,329.10    $87,987.30
WILSON             KEITH                10718    $6,074.13    $18,222.39
YUNG               DAVID                14045   $20,319.46    $60,958.38
HASSENFRATZ (F.
                   JUNE                 10670     $734.24      $2,202.72
MCADAM)


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    KELLEY/NUSUM                 RENEE                         10689             $553.51           $1,660.53
    CENTORE (F.
                                 KATELYN                       14513         $10,117.28           $30,351.84
    MURPHY)
    YANOVITCH (F.
                                 AMANDA                        16012           $1,098.58           $3,295.74
    SELFRIDGE)
    TOTAL                                                                 $2,531,389.42 $7,594,168.26



         2.        Pursuant to G.L. c. 231, § 6C, the Plaintiffs are further awarded pre-judgment

interest from August 28, 2019, the date of commencement of this action, through May 2, 2022,

in the amount of $825.579.72 (12% per annum from the date of commencement of this action

to the date of Judgment on Count II on the Lost Wages but not upon the liquidated damages

amounts) 3, or, alternatively, an amount of interest to be calculated at 12% per annum by the

clerk from August 28, 2019 to the date that Judgment enters in this case.

         3.       Costs shall be taxed against the Defendant as provided by law in the amount of

$40,148.75. 4

         4.       The Court awards Plaintiffs’ attorneys’ fees in an amount of $257,350.00. 5

         5.       Post-judgment interest shall accrue as provided by law.

         6.       The City of Malden is Ordered to fully satisfy this Judgment by remitting

payment for the full amounts declared herein by causing payment in the amount of

$8,717,246.73 to counsel for the Plaintiffs’ within thirty (30) days of the entry of this Judgment.




3
  George, 477 Mass. 371, 372 (2017).
4
  Plaintiffs’ incorporate by reference fully herein Plaintiff’s Proposed Attorney’s Fees and Costs Award, fully
detailing the specific amounts requested.
5
  Plaintiffs’ Motion for Costs and Attorney’s Fees, filed separately, but incorporated fully herein by reference,
supports Plaintiffs’ proposed attorney’s fee award as to the Wage Act Claim only.


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                                          Clerk

So ordered:




_________________________________
William G. Young



Dated: May _ _     , 2022




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                                                     Respectfully submitted,
                                                     PLAINTIFFS,
                                                     JACK OWENS, JEFFREY DREES,
                                                     KATELYN MURPHY, PATRICK
                                                     MANOLIAN, SCOTT MANN, and SEAN
                                                     HUSSEY, on behalf of themselves and all
                                                     other similarly situated,
                                                     By Their Attorney,


                                                     /s/ Joseph A. Padolsky
                                                     Joseph A. Padolsky (BBO# 679725)
                                                     Louison, Costello, Condon & Pfaff, LLP
                                                     101 Summer Street, 4th Floor
                                                     Boston, MA 02110
                                                     (617) 439-0305
                                                     (617) 439-0325 (facsimile)
                                                     jpadolsky@lccplaw.com

Dated: May 16, 2022
                                CERTIFICATE OF SERVICE

        I certify that on this day I caused a true copy of the above document to be served upon
the attorney of record for all parties via CM/ECF

       Barry J. Miller (BBO # 661596)                            John J. Clifford
            bmiller@seyfarth.com                          john@cliffordkennylaw.com
       Alison Silveira (BBO # 666814)                          David K. Kouroyen
           asilveira@seyfarth.com                         david@cliffordkennylaw.com
      Timothy Buckley (BBO # 691200)                         Clifford & Kenny, LLP
           tbuckley@seyfarth.com                          31 Schoosett Street, Suite 405
             Seyfarth Shaw LLP                                Pembroke, MA 02359
                 Seaport East
        Two Seaport Lane, Suite 300
           Boston, MA 02210-2028

                                                     /s/ Joseph A. Padolsky
                                                     Joseph A. Padolsky
Dated: May 16, 2022




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